          Case 3:11-cr-02484-WQH                        Document 57               Filed 11/08/11                  PageID.198          Page 1 of 2


     IIio,A0245B   (Rev. 9/00) Judgment in a Criminal Case
                                                                                                                                       FILED
                   Sheet 1

                                                                                                                                 CLERK US DISTRICT COURT
                                            UNITED STATES DISTRICT COURT                                                           ERN DISTRICT OF CALIFORNIA
                                                                                                                           ~~~                               DEPUTY
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                       v.                                         (For Offenses Committed On or After November 1, 1987)

             RIGONBERTO AVALOS-BETANCOURT (2)                                     Case Number: J I CR2484-WQH

                                                                                  STEPHEN HOFFMAN, CJA
                                                                                  Defendant's Attorney
    REGISTRATION NO. 10883298

    o
    THE DEFENDANT:
    I8J pleaded guilty to count(s)          2 OF THE INFORMATION

    o     was found guilty on count(s)
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                           Count
    Title & Section                      Nature of Offense                                                                                Number(s)
8 USC 1326                          DEPORTED ALIEN FOUND IN THE UNITED STATES                                                                   2




             The defendant is sentenced as provided in pages 2 through _ _2_ _ of this judgment. The sentence is imposed pursuant
      to the Sentencing Reform Act of 1984.
  o Count(s)
  o The defendant has been found not gUilty on count(s)
             _ _ _ _ _ _ _ _ _ _ _ __
                                                                                is DareD dismissed on the motion ofthe United States.
  I8J Assessment: $100.00
  I8J Fine waived                                  o Forfeited pursuant to order filed                                            included herein.
           IT IS ORDERED that the defendant shall notifY the United States attorney for this district within 30 days of any change of name, residence,
     or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
     defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                  NOVEMBER 7,2011
                                                                                 Date of Imposition of Sentence




                                                                                                                                           II CR2484-WQH
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AO 245B     (Rev. 9/00) Judgment in Criminal Case
            Sheet 2    Imprisonment
                                                                                              Judgment - Page _   ....2_ of    2
DEFENDANT: RIGONBERTO AVALOS-BETANCOURT (2)
CASE NUMBER: llCR2484-WQH
                                                            IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          37 months



   181 Sentence imposed pursuant to Title 8 USC Section 1326(b).
   o The court makes the following recommendations to the Bureau of Prisons:

   o The defendant is remanded to the custody of the United States Marshal.
   o The defendant shall surrender to the United States Marshal for this district:
           Oat                                      Oa.m.    Op.m.        on
              as notified by the United States Marshal.

   o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      o
      o as notified by the United States Marshal.
          o   as notified by the Probation or Pretrial Services Office.


                                                               RETURN

I have executed this judgment as follows:

      Defendant delivered on                                                     to

at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                           UNITED STATES MARSHAL


                                                                     By _ _ _ _~~~~~~==~~~-----
                                                                                      DEPUfY UNITED STATES MARSHAL




                                                                                                                    llCR2484-WQH
